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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Barnes v. To‘oto‘o (Order Dismissing Appeal).

							Circuit Court, 1st Circuit
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Thomas v. State (Order Dismissing Appeal).

							Circuit Court, 1st Circuit
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Young (Order Dismissing Appeal).

							District Court, 3rd Circuit, Puna Division
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re Estate of William Paul Appleton (Order Dismissing Appeal).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Bugado (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Depaepe v. State (Order Dismissing Appeal).

							District Court, 2nd Circuit, Wailuku Division
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							&nbsp;WB v. DB (Order Approving Stipulation to Dismiss Appeal).

							Family Court, 1st Circuit
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							TH v. NH (Order Approving Stipulation to Dismiss Appeal).

							Family Court, 3rd Circuit, Kona Division
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Ishimine (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							February 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Araiza v. State (mem. op., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							February 26, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Miranda (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed, 10/11/2019 [ada], 145 Haw. 260.&nbsp; Application for Writ of Certiorari, filed 01/13/2020.

							Circuit Court, 1st Circuit
							
						
												
							February 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Oania (s.d.o., vacated and remanded).

							Circuit Court, 2nd Circuit
							
						
												
							February 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Lima v. AOAO Wailuna Recreation Association (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Labor and Industrial Relations Appeals Board
							
						
												
							February 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Daniels v. Child Support Enforcement Agency (Order Dismissing Appeal).

							Family Court, 3rd Circuit
							
						
												
							February 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JF v. LR (Order Dismissing Appeal).

							Family Court, 1st Circuit
							
						
												
							February 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Daniel v. Hanel (s.d.o., dismissed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Atkinson v. Hanel (s.d.o., dismissed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							MD v. PR (s.d.o., affirmed)

							Family Court, 1st Circuit
							
						
												
							February 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Hinojosa (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							February 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							DL v. CL (mem.op., vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							February 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re Taniguchi Trust (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							February 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bassan v. Federal Land Bank of Hawaii (s.d.o., affirmed).

							Circuit Court, 3rd Circuit
							
						
												
							February 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Porter v. The Queen’s Medical Center.

							Labor and Industrial Relations Appeals Board
							
						
												
							February 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Foo v. Boner (mem.op., affirmed).

							Circuit Court, 3rd Circuit
							
						
												
							February 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Makanani (Order Rejecting Application for Writ of Certiorari). ICA s.d.o., filed 09/18/2019 [ada], 145 Haw. 143.&nbsp; ICA Order of Correction, filed 10/17/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 12/23/2019.

							Circuit Court, 5th Circuit
							
						
												
							February 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Krentler v. Krentler (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 09/25/2019 [ada], 145 Haw. 143.&nbsp; Application for Writ of Certiorari, filed 01/14/2020.

							Family Court, 1st Circuit
							
						
												
							February 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Dang v. Morrissey (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 2nd Circuit, Wailuku Division
							
						
												
							February 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Mellow (Order Dismissing Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Mellow (Order Dismissing Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Williams-Garcia (Order of Correction).&nbsp; ICA s.d.o., filed 02/13/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							February 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Zhang (Order of Correction).&nbsp; ICA s.d.o., filed 02/13/2020 [ada].&nbsp;

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 18, 2020
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Abel v. Obama (Order).

							Original Proceeding
							
						
												
							February 18, 2020
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Kwok (Order Granting Petition).

							Original Proceeding
							
						
												
							February 18, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re SK, LK Jr., SKF, LK (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							February 14, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pelayo (Order Granting in Part Motion to Withdraw Appeal).

							Circuit Court, 1st Circuit
							
						
												
							February 14, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Robles (Order Approving Stipulation to Dismiss Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Hardoby (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 11/22/2019 [ada], 145 Haw. 297.&nbsp; Motion for Reconsideration, filed 11/25/2019.&nbsp; ICA Order Denying Reconsideration, filed 12/05/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 12/24/2019.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							February 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Trustees of the Estate of Bernice Pauahi Bishop v. Au (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA Order Dismissing Appeal, filed 10/31/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 12/20/2019.

							Circuit Court, 1st Circuit
							
						
												
							February 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Rosa (Order Accepting Application for Writ of Certiorari and Remanding the Case to the Circuit Court for Determination of Appointment of Counsel).&nbsp; ICA s.d.o., filed 11/27/2019 [ada], 145 Haw. 441.&nbsp; Application for Writ of Certiorari, filed 02/03/2020.

							Circuit Court, 5th Circuit
							
						
												
							February 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Williams-Garcia (s.d.o., affirmed, vacated and remanded).&nbsp; ICA Order of Correction, filed 02/19/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							February 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Zhang (s.d.o., vacated and remanded).&nbsp; ICA Order of Correction, filed 02/19/2020 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							February 12, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Delapinia v. Nationstar Mortgage LLC.

							Circuit Court, 2nd Circuit
							
						
												
							February 11, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Eleson v. State (Order Denying Petition for Writ of Habeas Corpus).&nbsp; Petition for Writ of Habeas Corpus, filed 01/29/2020.

							Original Proceeding
							
						
												
							February 10, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							DL v. CL (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 10/07/2019 [ada], 145 Haw. 146. Motion for Reconsideration, filed 10/17/2019. &nbsp;ICA Order Denying Motion for Reconsideration, filed 10/21/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 01/07/2020.

							Family Court, 1st Circuit
							
						
												
							February 10, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Stroeve (Amended s.d.o., affirmed).&nbsp; ICA s.d.o., filed 02/07/2020.

							Circuit Court, 2nd Circuit
							
						
												
							February 10, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ritchie v. Department of Public Safety (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							February 10, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							MAJ Inc. v. Avalon (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							February 10, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Andrade v. County of Hawai‘i (Order of Correction).&nbsp;&nbsp;ICA Opinion, filed 09/30/2019 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							February 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Stroeve (s.d.o, affirmed).&nbsp; ICA Amended s.d.o., filed 02/10/2020 [ada]. 

							Circuit Court, 2nd Circuit
							
						
												
							February 6, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kim v. International Business Machines Corporation (Order Granting November 27, 2019 Motion to Dismiss Appeal for Lack of Appellate Jurisdiction).

							Labor and Industrial Relations Appeals Board
							
						
											
				
			
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